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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DR. SHIVA AYYADURAI,

Plaintiff,

ae C.A. No. 1:20-11889-MLW

WILLIAM FRANCIS GALVIN,
MICHELLE K. TASSINARI,
DEBRA O'MALLEY,
AMY COHEN,
NATIONAL ASSOCIATION OF STATE
ELECTION DIRECTORS,
all in their individual
capacities, and
WILIAM FRANCIS GALVIN, in his
official capacity as the
Secretary of the Commonwealth
of Massachusetts,

Defendants.

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ORDER

 

WOLF, D.J. April 26, 2021

Plaintiff has filed, pro se, a Proposed Second Amended
Complaint adding Twitter, Inc. as a defendant. See Dkt. No. 78.
It is hereby ORDERED that defendants shall, by April 30, 2021,
report whether they now oppose Plaintiff's motion for leave to
file the Second Amended Complaint (Docket No. 64), and if so, shall

file memoranda addressing their opposition by May 10, 2021.

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UNITED STATES DISTRICT JUDG
